                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN



DONALD J. TRUMP,

                   Plaintiff,
                                                     No. 20-cv-1785-bhl
       v.

WISCONSIN ELECTIONS COMMISSION,
et. al.,

                   Defendants.




                 INTERVENOR-DEFENDANT
 DEMOCRATIC NATIONAL COMMITTEE’S MOTION TO DISMISS
 PLAINTIFF DONALD J. TRUMP’S “COMPLAINT FOR EXPEDITED
DECLARATORY AND INJUNCTIVE RELIEF PURSUANT TO ARTICLE
    II OF THE UNITED STATES CONSTITUTION” (ECF NO. 1)
       The Democratic National Committee (“DNC”), by its undersigned counsel, and pursuant

to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), respectfully moves to dismiss in its entirety and with

prejudice Plaintiff Donald J. Trump’s “Complaint for Expedited Declaratory and Injunctive Relief

Pursuant to Article II of the United States Constitution” (ECF No. 1). This Court lacks subject-

matter jurisdiction over a claim asking for a declaratory judgment determining that state officials

violated state law and thereby “infringed and invaded upon [sic] the Wisconsin Legislature’s

prerogative and directions under Article II of the U.S. Constitution regarding the conduct of the

2020 Presidential election in Wisconsin.” ECF No. 1 ¶ 31. Nor does this Court have jurisdiction

to “remand this matter to the Wisconsin Legislature” for that body “to review the nature and scope

of the infringement declared and determine the appropriate remedy.” Id. President Trump’s

Complaint also fails in multiple respects “to state a claim upon which relief can be granted.” Fed.

R. Civ. P. 12(b)(6).



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       In granting permissive intervention earlier today, the Court admonished the DNC to “work

to ensure that judicial economies are maintained” and that DNC’s participation “will not be a

burden on further proceedings.” ECF No. 61 at 4. With that in mind, the DNC will not file a

separate brief in support of this motion to dismiss. The arguments for dismissal are largely

identical to the arguments for denying the President’s “Motion for Expedited Declaratory and

Injunctive Relief” (ECF No. 6). The DNC’s arguments are fully set forth in its brief in opposition

to that motion, and they apply with equal force in support of this motion to dismiss. The DNC

respectfully refers the Court to that brief, and incorporates the arguments in that brief by reference

in support of this motion.

       Pursuant to Civil L.R. 7(a)(2), the undersigned certifies that no separate memorandum or

other supporting papers will be filed in support of this motion.




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                                         Respectfully Submitted,

                                         s/ Michelle Umberger
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* Admission pending




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                            CERTIFICATE OF SERVICE

       I hereby certify that on Tuesday, December 8, 2020, I filed a copy of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.


                                             /s/ Michelle Umberger
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